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                               UN ITED STA TES D ISTRICT C OU RT
                               SOU TH ERN D ISTRICT OF FLO RJDA
                                CA SE N O .2O-20884-C1V -UN OA RO

 CRU ISE PA RTN ER S LLC.,
               Plaintiffts),


 ROYAL CARIBBEAN CRUISES LTD.,
               Defendantts).

                          SC H ED UL IN G O RD ER FOR PR ETR IAL
                                C O NFER EN C E AN D TR IA L

        THIS CAUSE issetforPretrialConferenceat10:00 a.m .on DECEM BER 18,2020 in

 theCourthouseBuilding,400North M iamiAvenue,Courtroom 12-4,M iami,Florida33128.The

 partiesshailbepreparedtoarguethemeritsofanypendingmotionts)atthePretrialConference.
        Settlementnegotiationsshallnotjustifyany.
                                                failurebythepartiestoconductdiscovery.The
 paties shalladhere to the following tim e schedule:

                                       TIM E SCH ED U LE

  Cut-offdateforadding partiesoramendingpleadings                   M A Y 8,2020
  A1ldiscovery m ustbe com pleted by                                O CT O BER 16,2020

  A1lmotionsincludingsummaryjudgmentmotions,motions    N O V EM BER 6,2020
  relatedtosummaryjudgmentmotionsandDaubertmotions,and
  motionsrelated to trialevidencem ustbefiled by
  JointPretrialStipulatipn,Jul'
                              y InstructionsorProposed              N O V EM BER 13,2020
  FindingsofFactand Conclusion ofLaw m ustbefiled by


 A LL EX PERT D ISCO V ER Y M UST BE C O M PL ETED BY TH E D ISCO V ERY C UT-OFF.
 TH ER EFO R E, TH E PA RT IE S M U ST A G R EE UPO N A SCH ED UL E FO R EX PER T
 D ISCL O SU R ES A N D D EPO SITIO N S W H ICH W ILL FA C ILIT AT E TH EIR
 C O M PLETIO N BY TH A T D ATE .TH E PLAIN TIFF SH A LL FILE TH E SCH ED ULE W IT H
 TH E CO UR T W lTH 1N 30 D A YS O F TH E ISSU A N CE O F TH IS O R DE R .TH E C O NTEN T
 OF THE EXPERT DISCLOSURES M UST CONFORM TO THE REQUIREM ENTS OF
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 FEDER AL R ULE O F C IVIL PR O CED U RE 26.

 TH E TIM E SC H ED U LE C O N TA IN ED IN TH IS O R DER M AY N O T BE M O DIFIED
 A BSEN T PRIO R O R D ER O F TH E C O U RT . IN TH E EV EN T TH E C O U RT G R AN TS A
 CONTINUANCE OF THE ORIGINALLY SCHEDULED TRIAL DATE,ALL OTH ER
 DATES,INCLUDING THE PM TM AL CONFEM NCE DATE,SH ALL M M AIN IN FULL
 FORCE AND EFFECT UNLESS TH E COURT STATES OTHERW ISE IN W RITING.

        To the extentthisOrderconflictswith the LocalRules,thisordersupersedesthem . Each

 at4orney and each self-represented party ischarged with the duty ofcom plying with thisOrder.

 Failureto comply withthetim eschedulem ayresultindism issalorothersanctions.Thepartiesare

 precludedfrom filingunilateralpretrialstipulations;anypartycausingtmilateralpre-trialstipulations

 to befiled willberequired to show causewhy sanctionsshould notbeimposed.

        Exhibits m ust be pre-m arked and exchanged prior to execution of the Joint Pretrial

 Stipulation. Each exhibitshould be m arked with a stickeridentifying the case number,exhibit

 num ber,and party offering theexhibit.

        The Joint Pretrial Stipulation shall include a num bered list of trialexhibits, other than

 impeachmentexhibits,withobjections,ifany,toeachexhibit,includingthebasisforobjectionsas
 providedinLocalRule16.1(E)(9).ThelistofexhibitsmustIistindividualexhibitsorindividual
 compositeexhibitsandmustincludeacolumnrenectingtheopposingparty'sobjections.The
 C ourt requires use ofthe form attached hereto as exhibit $(A .''The listof exhibits also shall

 identiffthosewhichthepartyexpectstoofferandthosewhich thepartym ayofferiftheneed
 arises.ThefailureofapartytoobjecttotheexhibitslistedinthePretrialStipulationshallconstitute
 awaiverofanyobjections,includingobjectionsunderRules402 and403oftheFederalRulesof
 Evidence.

        TheJointPretrialStipulation also shallinclude a num bered listoftrialw itnesses,w ith their
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 addresses,separatelyidentifyingthosewhom thepartyexpectstopresent,thosewhom thepal'
                                                                                   tymay

 callifthe need arises,and those w ho w illtestify as expeMs. Im peachm entw itnessesneed notbe

 listed.W itnesseswhosetestim ony isexpectedto bepresentedby deposition shallbeso designated

 onthewitnesslists.No laterthan thedateofthePretrialStipulation,thepartyofferingadeposition

 shallfilewith theCourtdesignationsofthepagesand linesofdeposition testimonytobeofferedat

 trial,togetherwith theopposing party'scross-designationsandobjectionstotheoffering party's
 designations,andtheofferingparty'sobjectionstocross-designations.Anyparty thatintendsto
 presenttestimonybydepositionshallcontacttheCourtroom Deputyat(305)523-5555toobtainthe
 form thattheattorneysmustusefordepositiondesignations,cross-designationsandobjections.
        Thepartiesalsom ustsubm itJointStipulated ProposedJury Instnlctionsand alointproposed

 VerdictForm concurrently with subm ission ofthePretrialStipulation.

        Y OU A RE H EREBY N O TIFIED thatthe above-styled cause is setforTR IAL during the

 two-week period comm encing JANUARY 19,2021,at9:00 a.m .,before theHonorableUrsula

 Ungaro. Counselshallrepol'
                          tto aCallofthetrialcalendarat1:00 p.m .on JANUARY 13,2021,

 foratwo-week trialcalendar.Atthistime,each casewillbeassigned anumberfortrial.A11cases

 willremainon thecalendaruntiltried oruntilfurthernoticeisreceivedby counselfrom theCourt.

        Ifthiscase isto betried byjury,the partiesmustsubmitproposed voirdire questions
 necessarytobringoutinformationotherthantheidentityorexperienceofprospectivejurorsnolater
 than theCalendarCall.

        W ITH REGARD TO SETTLEM ENT,ifacaseissettled,counselaredirectedto inform the

 Courtpromptlyat(305)523-5550andtosubmitanappropriateOrderforDismissal,pursuanttoFed.
 R,Civ.P.41(a)(1).Suchan Ordermustbefiledwithinfive(5)daysofnotificationtotheCourt.
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           YOU ARE HEREBY REOUIRED TO FILE,within ninety (90)days this Order,an
 lnterim JointStatu:Reportansweringthefollowing questions:

       Havea1lthedefendantsbeenselwedandansweredthecomplaint?lfnot,statethereasonts)
 f0rthefailure to do s0.

           Ifthisisaclassaction,hasam otion forclasscertification been filed? Ifso,whatisits

 status?

           lfdiscovery isnotclosed,whatisthepaties'agreed uponplan forthecompletion of

 discovery by the deadline,including butnotlim ited to the exchange ofal1relevantelectronically

 stored information?

           A re there any m otions pending? Ifso,indicate the statusof each m otion separately.

           Havçthepartiesfiled theirNoticeofSelection ofM ediatorasrequiredbytheCourt'sOrder

 ofReferralto M ediator?

           H ave thepartiesagreed to a place,date and tim e form ediation and hasthe lead attorney for

 theplaintiffts) completedtheform OrderSchedulingM ediation andsubmittedittotheCourt?If
 not,statethereasonts)forthefailuretodoso.
           Havethepartiesengagedininform alsettlementnegotiations?Ifso,explaintheextentofthe

 negotiations.lfnot,explainthereasonts)forthefailuretodoso.
           Ifthecaseislessthan fivedaysto try,havetheparties conferred and havethey agreed to

 trialbefore a U .S.M agistrate Judge,w herein a date certain fortrialm ay be given?

           A bsentleave ofthe Court,thepartiesshallcom m unicatew ith the Courtsolely by m otion or

 notice filed w ith the Clerk ofCourtand appropriately served on the otherparties.A ny party w ho,

 w ithoutreceiving leave ofCourt,m ailscorrespondence directly to the Coul'
                                                                          twillbe considered in


                                                   4
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 contemptofthisOrder.

        DISCOVERY DISPUTES:In casesassigned to M agistrateJudgeO 'Sullivan,M agistrate

 Judge O 'Sullivan holds a regular discovery calendar.ln the eventthe case is assigned to Judge

 O 'Sullivan,no w ritten discovery m otions,including m otions to com pel,f0r protective order,

 or related m otions for sanctions shallbe filed unless M agistrate Judge O 'Sullivan so directs

 at his discovery calendar.Counselm ust actually confer in a genuine effol'
                                                                          t to resolve their

 discoverydisputesbeforenoticingthedisputeforJudgeO 'Sullivan'sdiscoverycalendar.TheCourt

 m ayimposesanctions,monetaryofotherwise,ifitdetenninesdiscoveryisbeingimproperlysought

 orbeingwitl
           zheld in bad faith.If,afterconferring,thepartiesareunableto resolvetheir'discovery

 disputewithoutCourtintervention,they shallnotfilem 'itten m otions.Rather,theEsm ovingparty''

 shallcontactthechambersofM agistrateJudgeO'Sullivanat(305)523-5920andplacethematter
 on the nextavailable discovery calendar.

        DISCOVERY DISPUTES IN ALL OTH ER CASES:Thepartiesshallcomply with $he

 Federal Rules of Civil Procedure and the Local Rules for the Southern District of Florida,

 pal4icularlyRules7.1(a)(3)and 26.1.
        D ON E and O RD ERED atM iam i,Florida,this      14 dayofApril2020. ,




                                                   U RSU LA UN GA RO
                                                   UN ITED STATES D ISTRICT JU D G E
 cc:A11CounselofRecord




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